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                                      HEARING DATE:                    September 5, 2019 at 11:30 a.m.
                                      OBJECTION DEADLINE:              August 30, 2019 at 4:00 p.m.

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 Proposed Attorneys for Debtor/Debtor-in-Possession
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                        )       Chapter 11 Case
 In re:                                                 )
                                                        )       Case No. 19-12417 (MEW)
  HVI CAT CANYON, INC.,                         )       )
                                                )       )
                                  Debtor.       )       )
                                                        )

  NOTICE OF DEBTOR’S MOTION TO SURCHARGE COLLATERAL PURSUANT TO
                       11 U.S.C. §§ 506(c) and 552(b)
          PLEASE TAKE NOTICE that a hearing on the annexed Motion (“Motion”), dated

 August 16, 2019, of HVI Cat Canyon, Inc. (“Debtor”), in the above-captioned chapter 11 case

 (“Chapter 11 Case”), by its proposed attorneys Weltman & Moskowitz, LLP, for entry of an order:

 (a) authorizing Debtor to surcharge collateral pursuant to 11 U.S.C. §§ 506(c) and 552(b) as more

 fully set forth in the Motion; and (b) for such other and further relief as is just and proper, will be

 held before the Honorable Michael E. Wiles, at the United States Bankruptcy Court for the

 Southern District of New York, Courtroom 617, One Bowling Green, New York, NY 10004

 (“Bankruptcy Court”), on September 5, 2019 at 11:30 a.m. (Eastern Time) (“Hearing”).

          PLEASE TAKE FURTHER NOTICE that any responses or objections (“Objections”)

 to the Motion must be in writing, shall conform to the Federal Rules of Bankruptcy Procedure and

 the Local Bankruptcy Rules for the Southern District of New York, and shall be filed with the

 Bankruptcy Court (a) by registered users of the Bankruptcy Court’s case filing system,

 electronically in accordance with General Order M‒399 (which can be found at
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 http://www.nysb.uscourts.gov), and (b) by all other parties in interest, on a CD-ROM, in text

 searchable portable document format (PDF) (with a hard copy delivered directly to Chambers), in

 accordance with the customary practices of the Bankruptcy Court and General Order M‒399, to

 the extent applicable, and served in accordance with General Order M-399, so as to be so filed and

 received no later than August 30, 2019 at 4:00 p.m. (Eastern Time) (“Objection Deadline”).

          PLEASE TAKE FURTHER NOTICE that if no Objections are timely filed and served,

 Debtor may, on or after the Objection Deadline, submit to the Bankruptcy Court an order

 substantially in the form of the proposed order annexed to the Motion, which order may be entered

 with no further notice or opportunity to be heard.

          PLEASE TAKE FURTHER NOTICE that any objecting parties are required to attend

 the Hearing, and failure to appear may result in relief being granted or denied upon default.

 Dated:    New York, New York
           August 19, 2019
                                                      WELTMAN & MOSKOWITZ, LLP
                                                      Proposed Attorneys for Debtor/Debtor in
                                                      Possession


                                                      By: /s/ Michael L. Moskowitz
                                                           MICHAEL L. MOSKOWITZ
                                                      270 Madison Avenue, Suite 1400
                                                      New York, New York 10016
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